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                                                           DISTRICT OF HAWAII
District of Hawaii
                                                              JUN 1 8 2020
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UNITED STATES OF AMERICA


                 IN THE UNITED STATES DISTRICT COURT


                          FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,                  CR. NO. 19-00099-DKW


                 Plaintiff,               SEALED SUPERSEDING
                                          INDICTMENT
          vs.

                                          [18 U.S.C. §§ 229(a)(1), 229(a)(2),
MICHAEL J. MISKE, JR.,            (01)     924(c)(1)(A), 1201(a)(1), 1201(c),
   aka "Bro,"                              1344(2), 1951, 1958, 1959(a)(1),
JOHNB. STANCIL,                   (02)     1959(aX5), 1959(a)(6), 1962(d), and 21
KAULANA FREITAS,                  (03)     U.S.C. § 846]
   aka "Shorty,"
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LANCE L. BERMUDEZ,                (04)
   aka "Hammah,"
DAE HAN MOON,                     (05)
    aka "Dayday,"
PRESTON M.KIMOTO,                 (06)
MICHAEL J. BUNTENBAH,             (07)
   aka "Mike B,"
HARRY K.KAUHI,                    (08)
    aka "Harry Boy,"
NORMAN L. AKAU III,               (09)
HUNTER J. WILSON,and              (10)
JARRIN K.YOUNG,                   (11)

                Defendants.




                          SUPERSEDING INDICTMENT


The Grand Jury charges:

                                   Count 1
                            Racketeering Conspiracy
                             (18 U.S.C. § 1962(d))

                       Overview ofthe Miske Enterprise

      1.   At all times relevant to this Superseding Indictment, MICHAEL J.

MISKE,JR., aka "Bro," JOHN B. STANCIL,KAULANA FREITAS,aka

"Shorty," LANCE L. BERMUDEZ,aka "Hammah," DAE HAN MOON,aka

"Dayday,"PRESTON M.KIMOTO,HARRY K. KA.UHI, aka "Harry Boy,"

NORMAN L. AKAU III, HUNTER J. WILSON,and JARRIN K. YOUNG,the
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    defendants, and others known and unknown, were members and associates of a

    criminal organization (hereinafter the "Miske Enterprise"). Members and

    associates ofthe Miske Enterprise operated principally under the direction and

    protection of MISKE,who used his power over members and associates ofthe

    Miske Enterprise, his reputation for violence in the community, and the various

    corporate entities under his control to enrich the members and associates ofthe

    Miske Enterprise and to protect their criminal activities.

          2.     Among the corporate entities that were part ofthe Miske Enterprise

    and used to promote the ends ofthe Miske Enterprise was a company named

    Kama'aina Termite and Pest Control Inc., or "KTPC." KTPC provided some

    legitimate termite and pest control services, but also served as a headquarters for

    the planning of criminal activities, the laundering of illicit proceeds, and the

    fraudulent "employment" ofindividuals whose "work" consisted of engaging in

    acts of violence or fi-aud on behalf ofthe Miske Enterprise. The unlawful activities

    ofthe Miske Enterprise also facilitated KTPC's legitimate business operations: the

    Miske Enterprise, and its members and associates, used violence and the threat of

    violence to silence customers who complained about, and business competitors and

    government regulators who pointed out, KTPC's slipshod service and disregard of

    applicable rules and regulations. At all times relevant to this Superseding
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    Indictment, MICHAEL J. MISKE,JR., aka "Bro," the defendant, was the de facto

    owner ofKTPC,although at different times, the names of other persons were used

    to conceal or obscure MISKE's control ofKTPC.

          3.     KTPC,as well as other corporate entities of which MICHAEL J.

    MISBCE,JR., aka "Bro," the defendant, was the de facto owner, were members of

    the Miske Enteprise. Other corporate entities that were part ofthe Miske

    Enterprise and used to promote the ends ofthe Miske Enterprise included Oahu

    Termite & Pest Control, Inc., Kama'aina Holdings LLC,Hawaii Partners, LLP,

    Kama'aina Plumbing and Home Renovations, Kama'aina Energy, LLC(formerly

    Kama'aina Solar Solutions), Makana Pacific Development LLC,and the Encore

    Nightclub (formerly the M Nightclub).

          4.     The Miske Enterprise, including its leadership, membership, and

    associates, constituted an "enterprise" as that term is defined in Title 18, United

    States Code, Section 1961(4), that is, a group of individuals and entities associated

    in fact. The Miske Enterprise was engaged in, and its activities affected, interstate

    and foreign commerce. The Miske Enterprise operated within the District of

    Hawaii and elsewhere and constituted an ongoing organization whose members

    and associates functioned as a continuing unit for a common purpose of achieving

    the objectives ofthe Miske Enterprise.
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                          Purposes ofthe Miske Enterprise

       5.    The purposes ofthe Miske Enterprise included the following:

             a.      enriching the members and associates ofthe Miske Enterprise

through, among other things,(i) engaging in business practices that increased the

profits of businesses controlled by the Miske Enterprise, but that ran afoul of

applicable rules and regulations;(ii)the collection of extensions of credit by

extortionate means;(iii) various forms offraud, including a cash payroll scheme, a

false certified payroll scheme, fraudulent change orders, a fraudulent scheme

relating to representations about proper licensing, fraudulent fumigation practices,

and bank fraud;(iv) employment tax evasion schemes;(v)extortion;(vi)robbery;

(vii) narcotics trafficking;(vii) money laundering; and (viii) illegal structuring of

cash transactions;

             b.      preserving and protecting the power and financial profits ofthe

Miske Enterprise through intimidation, violence, and threats of physical and

economic harm;

             c.      promoting and enhancing the Miske Enterprise and the

activities ofits members and associates;

             d.      placing victims and potential victims in fear ofthe Miske

Enterprise and its members and associates by (i) causing and threatening to cause
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economic harm and (ii) committing and threatening to commit physical violence;

and


              e.   protecting the Miske Enterprise and its members and associates

from detection and prosecution by law enforcement authorities through acts of

intimidation and violence against potential witnesses to crimes committed by

members and associates ofthe Miske Enterprise.

                   Means and Methods ofthe Miske Enterprise

      6.      Among the means and methods employed by the members and

associates ofthe Miske Enterprise in conducting and participating in the conduct of

the affairs ofthe Miske Enterprise were the following:

              a.   To protect and expand the Miske Enterprise's business and

criminal operations, members and associates ofthe Miske Enterprise committed

acts involving murder and assault against, and threatened and intimidated, persons

who engaged in activity thatjeopardized (i)the power and criminal activities ofthe

Miske Enterprise;(ii) the power ofleaders ofthe Miske Enterprise; and (iii) the

flow of criminal proceeds to the Miske Enterprise. At times, members and

associates ofthe Miske Enterprise conducted surveillance, using tracking devices

and other means, of persons they viewed as a threat to the interests ofthe Miske

Enterprise.
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             b.     Members and associates ofthe Miske Enterprise generated

income for the Miske Enterprise through, among other things,(i)the collection of

extensions of credit by extortionate means;(ii) various forms offraud, including a

cash payroll scheme, a false certified payroll scheme, fraudulent change orders, a

fraudulent scheme relating to representations about proper licensing, fraudulent

fumigation practices, and bank fraud;(iii) employment tax evasion schemes;(iv)

extortion;(v)robbery;(vi) narcotics trafficking;(vii) money laundering; and (viii)

illegal structuring of cash transactions.

             c.     Members and associates ofthe Miske Enterprise also generated

income for the Enterprise through, among other things, business practices that

increased the profits of businesses controlled by the Miske Enterprise, but that ran

afoul of applicable rules and regulations. Among other things, members and

associates ofthe Miske Enterprise committed and facilitated violations ofthe

Federal Insecticide, Fungicide and Rodenticide Act(FIFRA), Title 7, United States

Code, Section 136, by using Vikane, chloropicrin, and other regulated pesticides

and chemicals in a manner inconsistent with their labeling. At certain times, when

the Hawaii Department of Agriculture inquired into possible violations ofFIFRA,

members and associates ofthe Miske Enterprise used false writings and
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statements, and other fraudulent means,to impair, impede, and fiustrate these

inquiries.

             d.    Members and associates ofthe Miske Enterprise obtained,

possessed, and used firearms.

             e.    Members and associates ofthe Miske Enterprise used various

techniques to avoid law enforcement scrutiny ofthe Miske Enterprise's criminal

activities. Among other things, members and associates ofthe Miske Enterprise

used multiple cellular telephones for the discussion ofparticular criminal activities,

used encrypted communication applications and devices when discussing criminal

activities in an effort to thwart potential law enforcement eavesdropping, attempted

to thwart potential law enforcement eavesdropping by engaging in "in-person"

meetings to discuss criminal activities, and falsified records and made false

representations to both law enforcement and regulatory agencies.

             f.    Members and associates ofthe Miske Enterprise committed

acts ofintimidation and made threats as a means of deterring and punishing any

potential witnesses to their crimes and in connection with protecting the Miske

Enterprise and its members and associates from detection and prosecution by law

enforcement authorities.
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                           The Racketeering Conspiracy


      7.     From a precise date unknown, but by at least in or about the late

1990s, up to and including the date ofthis Superseding Indictment, within the

District of Hawaii and elsewhere, MICHAEL J. MISKE,JR., aka "Bro," JOHN B.

STANCIL,KAULANA FREITAS,aka "Shorty," LANCE L. BERMUDEZ,aka

"Hammah," DAE HAN MOON,aka "Dayday," PRESTON M.KIMOTO,

HARRY K. KAUHI,aka "Harry Boy," NORMAN L. AKAU III, HUNTER J.

WILSON,and JARRIN K. YOUNG,the defendants, and others known and

unknown, being persons employed by and associated with the Miske Enterprise,

which was engaged in, and the activities of which affected, interstate and foreign

commerce, willfully and knowingly combined, conspired, confederated, and

agreed together and with each other to violate the racketeering laws ofthe United

States, namely. Title 18, United States Code, Section 1962(c), that is, to conduct

and participate, directly and indirectly, in the conduct ofthe affairs ofthe Miske

Enterprise through a pattern ofracketeering activity, as that term is defined in Title

18, United States Code, Sections 1961(1)and 1961(5), consisting of multiple:

             a.    acts involving murder, in violation of Hawaii Revised Statutes

§§ 707-701, 707-701.5, 705-500, 705-501, 705-510, and 705-520;
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             b.     acts involving kidnapping, in violation of Hawaii Revised

Statutes §§ 707-720, 705-500, 705-501, 705-510, and 705-520;

             c.     acts involving arson, in violation of Hawaii Revised Statutes

§§ 708-8251, 708-8252, 708-8253, 705-500, 705-501, and 705-520;

             d.     acts involving robbery, in violation of Hawaii Revised Statutes

§§ 708-840, 708-841, 705-500, 705-501, and 705-520;

             e.     acts indictable under Title 18, United States Code, Section 1958

(relating to use ofinterstate commerce facilities in the commission of murder-for-

hire);

             f.     acts indictable under Title 18, United States Code, Section 229

(relating to chemical weapons);

             g.     acts indictable under Title 18, United States Code, Section 894

(relating to extortionate credit transactions);

             h.     acts indictable under Title 18, United States Code, Section 1952

(relating to racketeering);

             i.     acts indictable under Title 18, United States Code, Section 1951

(relating to interference with commerce,robbery, or extortion);




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             j.       offenses involving the felonious trafficking of controlled

substances, in violation of Title 21, United States Code, Sections 841(b)(1)(A),

841(b)(1)(B), 841(b)(1)(C), 843, and 846;

              k.      acts indictable under Title 18, United States Code, Section 1343

(relating to wire fraud);

              1.      acts indictable under Title 18, United States Code, Section 1028

(relating to fraud and related activity in connection with identification documents);

              m,      acts indictable under Title 18, United States Code, Section 1344

(relating to financial institution fraud);

              n.      acts indictable under the Currency and Foreign Transactions

Reporting Act, in violation of Title 31, United States Code, Section 5324;

              o.      acts indictable under Title 18, United States Code, Section 1956

(relating to the laundering of monetary instruments);

              p.      acts indictable under Title 18, United States Code, Section 1957

(relating to engaging in monetary transactions in property derived from specified

unlawful activity);

             q.       acts indictable under Title 18, United States Code, Section 1503

(relating to obstruction ofjustice); and




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             r.    acts indictable under Title 18, United States Code, Section 1512

(relating to tampering with a witness, victim, or an informant).

      8.     It was a part ofthe conspiracy that MICHAEL J. MISKE,JR., aka

"Bro," JOHN B. STANCIL,KAULANA FREITAS,aka "Shorty," LANCE L.

BERMUDEZ,aka "Hammah," DAE HAN MOON,aka "Dayday,"PRESTON M.

KIMOTO,HARRY K. KAUHI,aka "Harry Boy," NORMAN L. AKAU III,

HUNTER J. WILSON,and JARRIN K. YOUNG,the defendants, each agreed that

a conspirator would commit at least two acts ofracketeering in the conduct ofthe

affairs ofthe Miske Enterprise.

      All in violation of Title 18, United States Code, Section 1962(d).



                                      Count 2
                           Murder in Aid of Racketeering
                             (18U.S.C. § 1959(a)(1))

      9.     At all times relevant to this Superseding Indictment, the Miske

Enterprise, as more fully described in paragraphs 1 through 6, which are realleged

and incorporated as though fully set forth herein, including its leadership,

membership, and associates, constituted an "enterprise" as defined in Title 18,

United States Code, Section 1959(b)(2), that is, a group ofindividuals and entities

associated in fact that was engaged in, and the activities of which affected,

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interstate and foreign commerce. The Miske Enterprise constituted an ongoing

organization whose members functioned as a continuing unit for a common

purpose of achieving the objectives ofthe Enterprise.

       10.   At all times relevant to this Superseding Indictment, the Miske

Enterprise, through its members and associates, engaged in racketeering activity, as

defined in Title 18, United States Code, Sections 1959(b)(1) and 1961(1), that is,

acts involving murder, kidnapping, arson, and robbery, that are chargeable under

Hawaii Revised Statutes and punishable by imprisonment for more than one year,

acts indictable under Title 18, United States Code, Sections 1958 (relating to use of

interstate commerce facilities in the commission of murder-for-hire), 229(relating

to chemical weapons), 894(relating to extortionate credit transactions), 1952

(relating to racketeering), 1951 (relating to interference with commerce,robbery,

or extortion), 1343 (relating to wire fraud), 1028 (relating to fraud and related

activity in connection with identification documents), 1344 (relating to financial

institution fraud), 1956 (relating to the laundering of monetary instruments), 1957

(relating to engaging in monetary transactions in property derived from specified

unlawful activity), 1503 (relating to obstruction ofjustice), and 1512(relating to

tampering with a witness, victim, or an informant), offenses involving the

felonious trafficking of controlled substances, in violation of Title 21, United

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States Code, Sections 841(b)(1)(A), 841(b)(1)(B), 841(b)(1)(C), 843, and 846, and

acts indictable under the Currency and Foreign Transactions Reporting Act, in

violation of Title 31, United States Code, Section 5324.

      11.    On or about July 30,2016, within the District of Hawaii,for the

purpose of maintaining and increasing position in the Miske Enterprise, an

enterprise engaged in racketeering activity, MICHAEL J. MISKE,JR., aka "Bro,"

the defendant, and others known and unknown, did intentionally and knowingly

murder Johnathan Eraser, in violation ofHawaii Revised Statutes § 707-701.5, and

did aid and abet the same.


      All in violation of Title 18, United States Code, Sections 1959(a)(1) and 2.



                                      Count 3
              Conspiracy to Commit Murder in Aid of Racketeering
                           (18U.S.C. § 1959(a)(5))

      12.    Paragraphs 9 and 10 ofthis Superseding Indictment are realleged and

incorporated by reference as though fully set forth herein.

      13.    From a precise date unknown, but by at least in or about March 2016

and continuing to on or about July 30, 2016, within the District ofHawaii, for the

purpose of maintaining and increasing position in the Miske Enterprise, an

enterprise engaged in racketeering activity, MICHAEL J. MISKE,JR., aka "Bro,"

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the defendant, and others known and unknown, did willfully, intentionally, and

knowingly combine, conspire, confederate, and agree together and with each other

and others to murder Johnathan Fraser, in violation of Hawaii Revised Statutes

§§707-701.5 and 705-520.

      All in violation of Title 18, United States Code, Section 1959(a)(5).



                                      Count 4
                  Murder-for-Hire Conspiracy Resulting in Death
                               (18U.S.C. § 1958)

      14.    From a precise date unknown, but by at least in or about March 2016

and continuing to on or about July 30,2016, within the District ofHawaii,

MICHAEL J. MISICE, JR., aka "Bro," the defendant, and others known and

unknown, did willfully and knowingly combine, conspire, confederate, and agree

together and with each other to use and cause another to use a facility ofinterstate

commerce, with intent that a murder be committed in violation ofthe laws of a

State, as consideration for the receipt of, and as consideration for a promise and

agreement to pay a thing of pecuniary value, namely, MISKE agreed with others to

pay cash and other things ofpecuniary value in exchange for the murder of

Johnathan Fraser, in violation of Hawaii Revised Statutes §§ 707-701 and 707-

701.5, which arrangements depended in part upon communications by cellular

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telephones operating on interstate networks, and which resulted in the death of

Fraser on or about July 30,2016.

      All in violation of Title 18, United States Code, Section 1958.




                                       Count 5
                          Kidnapping Using a Facility of
                     Interstate Commerce Resulting in Death
                             (18U.S.C.§ 1201(a)(1))

      15.    On or about July 30,2016, within the District of Hawaii, MICHAEL

J. MISKE,JR., aka "Bro," the defendant, did unlawfully and willfully seize,

confine, inveigle, decoy, kidnap, abduct, carry away, and hold for ransom,reward,

and otherwise any person, namely, Johnathan Fraser, and in committing or in

furtherance ofthe commission ofthe offense did use a means,facility, and

instrumentality of interstate commerce,that is, cellular telephones operating on

interstate networks, and which resulted in the death ofFraser on or about July 30,

2016, and did aid and abet the same.

      All in violation of Title 18, United States Code, Sections 1201(a)(1) and 2.

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                                      Count 6
                     Conspiracy to Commit Kidnapping Using
                         a Facility ofInterstate Commerce
                               (18U.S.C.§ 1201(c))

      16.    From a precise date unknown, but by at least in or about March 2016

and continuing to on or about July 30, 2016, within the District of Hawaii,

MICHAEL J. MISKE,JR., aka "Bro," the defendant, and others known and

unknown, did willfully and knowingly combine, conspire, confederate, and agree

together and with each other to unlawfully and willfully seize, confine, inveigle,

decoy, kidnap, abduct, carry away, and hold for ransom, reward, and otherwise

another person, namely, Johnathan Fraser, which conspiracy would and did use a

means,facility, and instrumentality of interstate commerce,that is, cellular

telephones operating on interstate networks.

      17.   In furtherance ofthe conspiracy, and to effect the object thereof, the

following overt acts, among others, were committed within the District of Hawaii:

             a.    In or about March 2016, MICHAEL J. MISKE,JR., aka "Bro,"

the defendant, instructed a co-conspirator not charged herein("CC-1")to develop a

plan for kidnapping and murdering Johnathan Fraser, and told CC-1 that he/she

could name the price for carrying out the murder.




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             b.    In or about June 2016, MISKE arranged for the purchase of a

Boston Whaler vessel that could be used to dump Eraser's body into the ocean

after Eraser was kidnapped and killed.

             c.    On or about July 30,2016,the day Eraser was kidnapped, a co-

conspirator not charged herein("CC-2")took Eraser's significant other on a spa

day,thereby ensuring that Eraser and his significant other would be separated from

each other when Eraser was kidnapped.

      All in violation of Title 18, United States Code, Section 1201(c).



                                      Count 7
                            Murder-for-Hire Conspiracy
                                (18U.S.C. § 1958)

      18.    In or about 2016, within the District of Hawaii, MICHAEL J. MISKE,

JR., aka "Bro," JOHN B. STANCIL,LANCE L. BERMUDEZ,aka "Hammah,"

DAE HAN MOON,aka "Dayday," and HARRY K. KAUHl,aka "Harry Boy," the

defendants, and others known and unknown, did willfully and knowingly combine,

conspire, confederate, and agree together and with each other to use and cause

another to use a facility ofinterstate commerce, with intent that a murder be

committed in violation ofthe laws of a State, as consideration for the receipt of,

and as consideration for a promise and agreement to pay a thing of pecuniary

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value, namely, MISKE offered thousands of dollars in payment to STANCIL,

BERMUDEZ,MOON,and KAUHI,in exchange for their agreement to murder, in

violation of Hawaii Revised Statutes §§ 707-701 and 707-701.5, another person

("Victim-1"), whom MISICE suspected of cooperating with law enforcement,

which arrangements depended in part upon communications by cellular telephones

operating on interstate networks.

      All in violation of Title 18, United States Code, Section 1958.




                                      Count 8
              Assault and Attempted Murder in Aid of Racketeering
                   (18 U.S.C. §§ 1959(a)(3) and 1959(a)(5))

      19.    Paragraphs 9 and 10 ofthis Superseding Indictment are realleged and

incorporated by reference as though fully set forth herein.

      20.    On or about May 23, 2017, within the District ofHawaii, for the

purpose of maintaining and increasing position in the Miske Enterprise, an

enterprise engaged in racketeering activity, MICHAEL J. MISKE,JR., aka "Bro,"

and JOHN B. STANCIL,the defendants, did intentionally and knowingly attempt

to murder another person ("Victim-2"), in violation of Hawaii Revised Statutes

§§ 707-701.5, 705-500, and 705-501, and did intentionally and knowingly commit




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assault with a dangerous weapon of Victim-2, in violation of Hawaii Revised

Statutes §§ 707-710 and 707-711, and did aid and abet the same.

         All in violation of Title 18, United States Code, Sections 1959(a)(3),

1959(a)(5), and 2.



                                        Count 9
                         Carrying and Using a Firearm During
                         and in Relation to a Crime of Violence
                            (18 U.S.C. § 924(c)(l)(A)(iii))

      21.      On or about May 23, 2017, within the District of Hawaii, MICHAEL

J. MISKE,JR., aka "Bro," and JOHN B. STANCIL,the defendants, did knowingly

carry and use at least one firearm during and in relation to a crime of violence for

which they may be prosecuted in a court ofthe United States, namely, the

attempted murder and assault with a dangerous weapon in aid ofracketeering

charged in Count 8 ofthis Superseding Indictment, which firearm was discharged,

and did aid and abet the same.


         All in violation of Title 18, United States Code, Sections 924(c)(l)(A)(iii)

and 2.




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                                      Count 10
               Conspiracy to Commit Assault in Aid of Racketeering
                             (18 U.S.C. § 1959(a)(6))

       22.   Paragraphs 9 and 10 ofthis Superseding Indictment are realleged and

incorporated by reference as though fully set forth herein.

       23.   From a precise date unknown, but by at least in or about the late

1990s and continuing to in or about 2018, within the District of Hawaii, for the

purpose of maintaining and increasing position in the Miske Enterprise, an

enterprise engaged in racketeering activity, MICHAEL J. MISKE,JR., aka "Bro,"

JOHN B. STANCIL,and MICHAEL J. BUNTENBAH,aka "Mike B," the

defendants, and others known and unknown, did willfully, intentionally, and

knowingly combine, conspire, confederate, and agree together and with each other

and others to commit assault with a dangerous weapon and assault resulting in

serious bodily injury, in violation of Hawaii Revised Statutes §§ 707-710 and 707-

711.


       All in violation of Title 18, United States Code, Section 1959(a)(6).




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                                      Count 11
                     Conspiracy to Commit Kidnapping Using
                         a Facility ofInterstate Commerce
                               (18U.S.C.§ 1201(c))

      24.    In or about October 2017, within the District of Hawaii, MICHAEL J.

MISBCE,JR., aka "Bro," and PRESTON M.KIMOTO,the defendants, and others

known and unknown, did willfully and knowingly combine, conspire, confederate,

and agree together and with each other to unlawfully and willfully seize, confine,

inveigle, decoy, kidnap, abduct, carry away, and hold for ransom, reward, and

otherwise another person ("Victim-3"), which conspiracy would and did use a

means, facility, and instrumentality ofinterstate commerce,that is, cellular

telephones operating on interstate networks.

      25.    In furtherance ofthe conspiracy, and to effect the object thereof, the

following overt acts, among others, were committed within the District of Hawaii:

             a.    On or about October 10, 2017,two co-conspirators not charged

herein (the "CCs"), acting on the instructions of MICHAEL J. MISKE,aka "Bro,"

the defendant, kidnapped Victim-3 in Honolulu, Hawaii and restrained him/her in

their vehicle.


             b.    On or about October 10, 2017, while Victim-3 was restrained,

PRESTON M.KIMOTO,the defendant, met with the CCs to discuss the situation.

      All in violation of Title 18, United States Code, Section 1201(c).
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                                     Count 12
                      Conspiracy to Use a Chemical Weapon
                            (18 U.S.C. § 229(a)(2))

      26.     In or about March 2017, within the District of Hawaii, MICHAEL J.

MISKE,JR., aka "Bro," JOHN B. STANCIL,and KAULANA FREITAS, aka

"Shorty," the defendants, did knowingly and intentionally combine, conspire,

confederate, and agree with each other and with others known and unknown to

knowingly use a chemical weapon, namely, chloropicrin, a toxic chemical that the

defendants did not intend to use for a peaceful or other lawful purpose as defined

in Title 18, United States Code, Sections 229F(7)(A)-(D), which chemical weapon

the defendants conspired to release into nightclubs in Honolulu, Hawaii.

      All in violation of Title 18, United States Code, Sections 229(a)(2) and

229A(a)(l).



                                     Count 13
                           Use of a Chemical Weapon
                      (18 U.S.C. §§ 229(a)(1) and 229(a)(2))

      27.     On or about March 4,2017, within the District of Hawaii, MICHAEL

J. MISKE,JR., aka "Bro," JOHN B. STANCIL,and KAULANA FREITAS, aka

"Shorty," the defendants, did knowingly use, and did assist and induce the use of, a

chemical weapon, namely, chloropicrin, a toxic chemical that the defendants did

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not intend to use for a peaceful or other lawful purpose as defined in Title 18,

United States Code, Sections 229F(7)(A)-(D), which chemical weapon the

defendants released into a nightclub in Honolulu, Hawaii("Nightclub-1"), and

assisted and induced the same.


      All in violation of Title 18, United States Code, Sections 229(a)(1),

229(a)(2), and 229A(a)(l).



                                      Count 14
                           Use of a Chemical Weapon
                      (18 U.S.C. §§ 229(a)(1) and 229(a)(2))

      28.    On or about March 5,2017, within the District of Hawaii, MICHAEL

J. MISKE,JR., aka "Bro," and JOHN B. STANCIL,the defendants, did knowingly

use, and did assist and induce the use of, a chemical weapon, namely, chloropicrin,

a toxic chemical that the defendants did not intend to use for a peaceful or other

lawful purpose as defined in Title 18, United States Code, Sections 229F(7)(A)-

(D), which chemical weapon the defendants released into a nightclub in Honolulu,

Hawaii("Nightclub-2"), and assisted and induced the same.

      All in violation of Title 18, United States Code, Sections 229(a)(1),

229(a)(2), and 229A(a)(l).

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                                     Count 15
                           Conspiracy to Distribute and
                     Possess With Intent to Distribute Cocaine
                                (21 U.S.C. § 846)

      29.    From a precise date unknown, but by at least July 2014, and

continuing to on or about July 22, 2014, within the District of Hawaii and

elsewhere, MICHAEL J. MISKE,JR., aka "Bro," and MICHAEL J.

BUNTENBAH,aka "Mike B," the defendants, did knowingly and intentionally

combine, conspire, confederate, and agree with each other and other persons

known and unknown,to distribute and possess with intent to distribute 5 kilograms

or more of a mixture or substance containing a detectable amoxmt of cocaine, its

salts, optical and geometric isomers, and salts ofisomers, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A).

      All in violation of Title 21, United States Code, Section 846.




                                     Count 16
                    Conspiracy to Distribute and Possess With
                    Intent to Distribute Controlled Substances
                                (21 U.S.C. § 846)

      30.   From a precise date unknown, but by at least in or about 2016, and

continuing to at least in or about August 2018, within the District of Hawaii and

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elsewhere, MICHAEL J. MISKE,JR., aka "Bro," JOHN B. STANCIL,

KAULANA FREITAS,aka "Shorty," LANCE L. BERMUDEZ,aka "Hammah,"

DAE HAN MOON,aka "Dayday," PRESTON M.KIMOTO,MICHAEL J.

BUNTENBAH,aka "Mike B," HARRY K. KAUHI,aka "Harry Boy," NORMAN

L. AKAU III, HUNTER J. WILSON,and JARRIN K. YOUNG,the defendants,

did knowingly and intentionally combine, conspire, confederate, and agree with

each other and other persons known and unknown,to distribute and possess with

intent to distribute controlled substances, namely: (1)500 grams or more of a

mixture and substance containing a detectable amount of methamphetamine, its

salts, isomers, or salts of its isomers, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A);(2)

five kilograms or more of a mixture and substance containing a detectable amount

of cocaine, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A);(3)a quantity of a mixture or substance containing a detectable

amount of oxycodone, a Schedule II controlled substance, in violation of Title 21,

United States Code, Sections 841(a)(1) and 841(b)(1)(C); and(4)a quantity of

marijuana, a Schedule I controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(1) and 841(b)(1)(D).

      All in violation of Title 21, United States Code, Section 846.


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                                        Count 17
                         Carrying and Using a Firearm During
                      and in Relation to a Drug Trafficking Crime
                             (18U.S.C.§924(c)(l)(A)(i))

      31.      From a precise date unknown, but by at least in or about 2016, and

continuing to at least in or about August 2018, within the District of Hawaii and

elsewhere, JOHN B. STANCIL,LANCE L. BERMUDEZ,aka "Hammah,"

HARRY K.KAUHI,aka "Harry Boy," NORMAN L. AKAU III, HUNTER J.

WILSON,and JARRIN K.YOUNG,the defendants, did knowingly carry and use

at least one firearm during and in relation to a drug trafficking crime for which

they may be prosecuted in a court ofthe United States, namely, the drug trafficking

conspiracy charged in Count 16 ofthis Superseding Indictment, and did aid and

abet the same.


         All in violation of Title 18, United States Code, Sections 924(c)(l)(A)(i)

and 2.




                                       Count 18
                                  Hobbs Act Robbery
                                  (18U.S.C. § 1951)

      32.      In or about 2016, within the District of Hawaii and elsewhere, JOHN

B. STANCIL,LANCE L. BERMUDEZ,aka "Hammah," HARRY K. KAUHI,aka

"Harry Boy," and NORMAN L. AKAU III, the defendants, and others known and
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unknown, did knowingly and intentionally obstruct, delay and affect, and attempt

to obstruct, delay and affect, commerce as that term is defined in Title 18, United

States Code, Section 1951, and the movement of articles and commodities in such

commerce, by robbery as that term is defined in Title 18, United States Code,

Section 1951(b)(1), in that STANCIL,BERMUDEZ,KAUHI,AKAU,and others

known and unknown, did unlawfully take and obtain personal property, that is,

methamphetamine, a Schedule II controlled substance, from the person and in the

presence of another person ("Victim-4"), against Victim-4's will by means of

actual and threatened force, violence, and fear ofinjury, immediate and future, to

Victim-4's person, that is, STANCIL,BERMUDEZ,KAUHI,AKAU,and others

known and unknown, did commit a gunpoint robbery of Victim-4, and did aid and

abet the same.


      All in violation of Title 18, United States Code, Sections 1951 and 2.




                                     Count 19
                       Carrying and Using a Firearm During
                      and in Relation to a Crime of Violence
                          (18 U.S.C. § 924(c)(l)(A)(ii))

      33.   In or around 2016, within the District of Hawaii, JOHN B. STANCIL,

LANCE L. BERMUDEZ,aka "Hammah," HARRY K.KAUHI,aka "Harry Boy,"

and NORMAN L. AKAU III, the defendants, and others known and unknown, did
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knowingly carry and use at least one firearm during and in relation to a crime of

violence for which they may be prosecuted in a court ofthe United States, namely,

the Hobbs Act robbery charged in Count 18 ofthis Superseding Indictment, which

firearm was brandished, and did aid and abet the same.

      All in violation of Title 18, United States Code, Sections 924(c)(l)(A)(ii)

and 2.




                                      Count 20
                                Hobbs Act Robbery
                                (18U.S.C. § 1951)

      34.    On or about August 24,2016, within the District of Hawaii and

elsewhere,LANCE L. BERMUDEZ,aka "Hammah," and HUNTER J. WILSON,

the defendants, and others known and unknown, did knowingly and intentionally

obstruct, delay and affect, and attempt to obstruct, delay and affect, commerce as

that term is defined in Title 18, United States Code, Section 1951, and the

movement of articles and commodities in such commerce, by robbery as that term

is defined in Title 18, United States Code, Section 1951(b)(1), in that

BERMUDEZ,WILSON,and others known and unknown, did unlawfully take and

obtain personal property, that is, a controlled substance, from the person and in the

presence of another person ("Victim-5"), against Victim-5's will by means of

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actual and threatened force, violence, and fear of injury, immediate and future, to

Victim-5's person, that is, BERMUDEZ,WILSON,and others known and

unknown, did commit a gunpoint robbery of Victim-5, and aided and abetted the

same.



         All in violation of Title 18, United States Code, Sections 1951 and 2.




                                        Count 21
                         Carrying and Using a Firearm During
                         and in Relation to a Crime of Violence
                             (18U.S.C.§924(c)(l)(A)(ii))

        35.    On or about August 24,2016, within the District ofHawaii,LANCE

L. BERMUDEZ,aka "Hammah," and HUNTER J. WILSON,the defendants, and

others known and unknown, did knowingly carry and use at least one firearm

during and in relation to a crime of violence for which they may be prosecuted in a

court ofthe United States, namely,the Hobbs Act robbery charged in Count 20 of

this Superseding Indictment, which firearm was brandished, and did aid and abet

the same.


         All in violation of Title 18, United States Code, Sections 924(c)(l)(A)(ii)

and 2.


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                                      Count 22
                                     Bank Fraud
                               (18U.S.C. § 1344(2))

       36.   From on or about April 21, 2017, up to and including on or about July

3, 2017, within the District ofHawaii, MICHAEL J. MISKE,JR., aka "Bro," the

defendant, did knowingly execute a scheme and artifice to obtain moneys,funds,

credits, and other property owned by, and under the custody and control of a

federally insured financial institution, namely. Bank of Hawaii, by means offalse

and fraudulent pretenses, representations, and promises, in that materially false

documents were prepared and submitted to Bank of Hawaii as part ofloan

applications.

       All in violation of Title 18, United States Code, Sections 1344(2)and 2.



       Notice of Special Findings as to MICHAEL J. MISKE. JR.. aka "Bro"

       1.    The allegations of Counts 2, 4, and 5 ofthis Superseding Indictment

are hereby realleged and incorporated by reference as though fully set forth herein.

       2.    As to Count 2 ofthis Superseding Indictment, alleging the murder of

Johnathan Eraser in aid ofracketeering; Count 4 ofthis Superseding Indictment,

alleging a murder for hire conspiracy resulting in Johnathan Eraser's death; and




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Count 5 ofthis Superseding Indictment, alleging a kidnapping resulting in

Johnathan Eraser's death, MICHAEL J. MISKE,JR., aka "Bro," the defendant:

             a.     was more than 18 years of age at the time ofthe offense (Title

18, United States Code, Section 3591(a));

             b.     intentionally killed Johnathan Eraser (Title 18, United States

Code, Section 3591(a)(2)(A));

             c.     intentionally inflicted serious bodily injury that resulted in the

death of Johnathan Eraser (Title 18, United States Code, Section 3591(a)(2)(B));

             d.     intentionally participated in an act, contemplating that the life

of a person would be taken or intending that lethal force would be used in

connection with a person, other than a participant in the offense, and Johnathan

Eraser died as a result ofthe act(Title 18, United States Code,

Section 3591(a)(2)(C));

             e.     intentionally and specifically engaged in an act of violence

knowing that the act created a grave risk of death to a person, other than one ofthe

participants in the offense, such that participation in the act constituted a reckless

disregard for human life and Johnathan Eraser died as a result ofthe act(Title 18,

United States Code, Section 3591(a)(2)(D));




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              f.    committed the offense, with the death and injury resulting in

death occurred during the commission and attempted commission of an offense

under Title 18, United States Code, Section 1201 (kidnapping)(Title 18, United

States Code, Section 3592(c)(1));

              g.    procured the commission ofthe offense by payment, and

promise of payment, of something of pecuniary value (Title 18, United States

Code, Section 3592(c)(9)); and

              h.    committed the offense after substantial planning and

premeditation to cause the death ofJohnathan Fraser (Title 18, United States Code,

Section 3592(c)(9)).

        All pursuant to Title 18, United States Code, Sections 3591 and 3592.



                               First Forfeiture Notice


        1.    The allegations contained in all paragraphs of Count 1 ofthis

Superseding Indictment are hereby realleged and incorporated by reference for the

purpose of noticing forfeitures pursuant to Title 18, United States Code, Section

1963.


        2.    The United States hereby gives notice to the defendants charged in

Count 1 ofthis Superseding Indictment that, upon conviction ofthe offense

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charged in Count 1 ofthis Superseding Indictment, the government will seek

forfeiture, in accordance with Title 18, United States Code, Section 1963, of any

interest the defendants have acquired or maintained in violation of Title 18, United

States Code, Section 1962; of any interest in; security of; claim against; or property

or contractual right of any kind affording a source ofinfluence over; any enterprise

which the defendants established, controlled, conducted, or participated in the

conduct of, in violation of Title 18, United States Code, Section 1962; and any

property constituting, or derived from,any proceeds obtained directly or indirectly

from racketeering activity in violation of Title 18, United States Code, Section

1962, including but not limited to the following:

             a.    The real property located at 6 Lumahai Street, Portlock,

Honolulu, Hawaii, being more particularly described as all ofthat certain parcel of

land situated at Maunalua, Honolulu, City and County of Honolulu, State of

Hawaii, being Lot H ofthe Koko Kai 2, Maunalua Bay View Lot Subdivision, Unit

2-C, as shown on File Plan Number 1468, filed in the Bureau of Conveyances of

the State ofHawaii, and containing an area of38,819 square feet, more or less, and

further described as Lot 33,Plat 13, Section 9,Zone 3,in the First Taxation

District ofthe State of Hawaii, Tax Map Key 390130330000;




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             b.    The real property located at 614 Paokano Loop,Kailua, Hawaii,

being more particularly described as that certain parcel ofland situated at

Kaelepulu, Kailua, District of Koolaupoko, City and County of Honolulu, State of

Hawaii, being Lot 99 ofthe Enchanted Lake Estates, Unit Two,as shown on File

Plan Number 652, filed in the Bureau of Conveyances ofthe State of Hawaii, and

containing an area of 7,500 square feet, more or less, and being the same premises

conveyed by deed recorded as Document No. A-45490663, and further described

as Lot 47,Plat 47, Section 2,Zone 4, in the First Taxation District ofthe State of

Hawaii, Tax Map Key 420470470000; and

             c. The real property located at 559 Kumukahi Place, Hawaii Kai,

Honolulu, Hawaii, being more particularly described as that certain parcel ofland

situated at Maunalua, City and County of Honolulu, State of Hawaii, being Lot 26

ofthe Hahai-Kai Marina, Unit 2-C, as shown on the map thereoffiled in the

official records as File Plan No. 1031, and being the same premises conveyed by

warranty deed recorded on February 2, 2001, as Regular System Document No.

2001-015565, and further described as Lot 26,Plat 52, Section 9,Zone 3,in the

First Taxation District ofthe State ofHawaii, Tax Map Key 390520260000.

      3.    If as a result of any act or omission of any defendant, any ofthe

property subject to forfeiture described in paragraph 2 herein:

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             a.    cannot be located upon the exercise of due diligence;

             b.    has been transferred or sold to, or deposited with, a third party;

             c.    has been placed beyond the jurisdiction ofthe court;

             d.    has been substantially diminished in value; or

             e.    has been commingled with other property which cannot be

                   subdivided without difficulty,

the United States of America will be entitled to the forfeiture of substitute property

up to the value ofthe property described above in paragraph 2, pursuant to Title 18,

United States Code, Section 1963(m).




                             Second Forfeiture Notice

      1.     The allegations contained in all paragraphs of Counts 4, 5,6, 7, 11,

18, 20, and 22 ofthis Superseding Indictment are hereby realleged and

incorporated by reference for the purpose of noticing forfeitures pursuant to Title

18, United States Code, Section 981(a)(1)(C), and Title 28, United States Code,

Section 2461(c).

      2.     The United States hereby gives notice to the defendants charged in

Counts 4, 5,6,1, 11, 18, 20, and 22 ofthis Superseding Indictment that, upon

conviction ofthe offenses charged in those counts, the government will seek

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forfeiture, in accordance with Title 18, United States Code, Section 981(a)(1)(C),

and Title 28, United States Code, Section 2461(c), of any and all property, real or

personal, that constitutes or is derived from proceeds traceable to the violations of

Title 18, United States Code, Sections 1201, 1344, 1951, and 1958, alleged in

Counts 4, 5,6, 7, 11, 18, 20, and 22 ofthis Superseding Indictment.

      3.     If by any act or omission ofthe defendant, any ofthe property subject

to forfeiture described in paragraph 2 herein:

             a.     cannot be located upon the exercise of due diligence;

             b.     has been transferred or sold to, or deposited with, a third party;

             c.     has been placed beyond the jurisdiction ofthe court;

             d.     has been substantially diminished in value; or

             e.     has been commingled with other property which cannot be

                   subdivided without difficulty,

the United States of America will be entitled to the forfeiture of substitute property

up to the value ofthe property described above in paragraph 2, pursuant to Title

21, United States Code, Section 853(p), as incorporated by Title 28, United States

Code, Section 2461(c).




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                               Third Forfeiture Notice


      1.     The allegations contained in all paragraphs of Counts 12, 13, and 14

ofthis Superseding Indictment are hereby realleged and incorporated by reference

for the purpose of noticing forfeitures pursuant to Title 18, United States Code,

Section 229B.


      2.     The United States hereby gives notice to the defendants charged in

Counts 12, 13, and 14 ofthis Superseding Indictment that, upon conviction ofthe

offenses charged in those counts,the government will seek forfeiture, in

accordance with Title 18, United States Code, Section 229B,of(1)any property,

real or personal, owned, possessed, or used by a person involved in the offenses

charged in Counts 12, 13, and 14 ofthis Superseding Indictment;(2)any property

constituting, or derived from,and proceeds the person obtained, directly or

indirectly, as the result ofthe violations of Title 18, United States Code, Section

229 charged in Counts 12, 13, and 14 ofthis Superseding Indictment; and any

property used in any manner or part, to commit, or to facilitate the commission of,

such violations.


      3.     If by any act or omission ofthe defendant, any ofthe property subject

to forfeiture described in paragraph 2 herein:

             a.    cannot be located upon the exercise of due diligence;

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             b.     has been transferred or sold to, or deposited with, a third party;

             c.     has been placed beyond the jurisdiction ofthe court;

             d.     has been substantially diminished in value; or

             e.     has been commingled with other property which cannot be

                    subdivided without difficulty,

the United States of America will be entitled to the forfeiture ofsubstitute property

up to the value ofthe property described above in paragraph 2, pursuant to Title

21, United States Code, Section 853(p), as incorporated by Title 18, United States

Code, Section 229B(b)(l).



                              Fourth Forfeiture Notice


      1.     The allegations set forth in Counts 15 and 16 ofthis Superseding

Indictment are hereby realleged and incorporated by reference for the purpose of

noticing forfeitures pursuant to Title 21, United States Code, Section 853.

      2.     The United States hereby gives notice to the defendants charged in

Counts 15 and 16 ofthis Superseding Indictment that, upon conviction ofthe

offenses charged in those counts,the government will seek forfeiture, in

accordance with Title 21, United States Code, Section 853, of any and all property

constituting, or derived from, any proceeds obtained, directly or indirectly, as the

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             result ofsuch offenses and any and all property used, or intended to be used,in any

             manner or part, to commit, or to facilitate the commission of, the offenses charged

             in Counts 15 or 16 ofthis Superseding Indictment.

                   3.     If any ofthe property described in paragraph 2 above, as a result of

             any act or omission ofthe defendants:

                          a.    cannot be located upon the exercise of due diligence;

                          b.    has been transferred or sold to, or deposited with, a third party;

                          c.    has been placed beyond the jurisdiction ofthe court;

                          d.    has been substantially diminished in value; or

                          e.    has been commingled with other property which cannot be

                                divided without difficulty;

             the United States of America shall be entitled to forfeiture of substitute property up

             to the value ofthe property described above in paragraph 2, pursuant to Title 21,

             United States Code, Section 853(p).



                                            Fifth Forfeiture Notice


                   1.     The allegations set forth in all counts ofthis Superseding Indictment

             are hereby realleged and incorporated by reference for the purpose of noticing

             forfeitures pursuant to Title 18, United States Code, Section 924(d), and Title 28,

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United States Code, Section 2461(c).

      2.     The United States hereby gives notice to the defendants charged in

this Superseding Indictment that, upon conviction ofthe offenses charged in this

Superseding Indictment, the government will seek forfeiture, in accordance with

Title 18, United States Code, Section 924(d), of any firearm or ammunition

involved in any knowing violation of Title 18, United States Code, Section

924(c)(1)(A), as charged in Counts 9, 19 and 21 ofthis Superseding Indictment;

any firearm or ammunition involved in or used in any violation of any other

criminal law ofthe United States, as charged in all counts ofthis Superseding

Indictment; any firearm or ammunition intended to be used in any offense that

constitutes a crime of violence as defined in Title 18, United States Code, Section

924(c)(3); and any firearm or ammunition intended to be used in any offense

punishable under the Controlled Substances Act, specifically the violations of Title

21, United States Code, Sections 841 and 846, charged in Counts 15 and 16 ofthis

Superseding Indictment.

      3.    If any ofthe property described in paragraph 2 above, as a result of

any act or omission ofthe defendants:

             a.    cannot be located upon the exercise ofdue diligence;

             b.    has been transferred or sold to, or deposited with, a third party;

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                   c.      has been placed beyond the jurisdiction of the court;

                   d.      has been substantially diminished in value; or

                   e.      has been commingled with other property which cannot be

                           divided without difficulty;

      the United States of America shall be entitled to forfeiture of substitute property up

      to the value ofthe property described above in paragraph 2, pursuant to Title 21,

      United States Code, Section 853(p), as incorporated by Title 28, United States

      Code, Section 2461(c).

                   DATED: June 18, 2020, at Honolulu, Hawaii.

                                              A TRUE BILL


                                              /s/Foreperson
                                              FOREPERSON,GRAND JURY




      KENJI M.PRICE
      United States Attorney
      District of Hawaii




      MICHAEL NAMMAR
      MICAH SMITH
      MARK A. INCIONG
      Assistant U.S. Attorneys

      United States v. Michael J. Miske, Jr., et al.

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